Case 1:23-cr-20271-DSL Document 177 Entered on FLSD Docket 02/28/2025 Page 1 of 31




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 23-CR-20271-DSL

   UNITED STATES OF AMERICA

   v.

   BRETT BLACKMAN and
   GARY COX,

                          Defendants.
                                           /


           GOVERNMENT’S OPPOSITION TO DEFENSE MOTIONS IN LIMINE

          The United States respectfully opposes the following motions for in limine rulings on

   evidentiary issues and for discovery filed by Defendants Brett Blackman and Gary Cox:

          1) Defendant Blackman’s motion for a bill of particulars [D.E. 161];

          2) Defendant Blackman’s motion for Brady evidence and to enforce the Due Process

              Protection Act [D.E. 160];

          3) Defendant Blackman’s motion in limine regarding various evidentiary issues [D.E.

              162]; and

          4) Defendant Blackman’s motion for a James hearing regarding coconspirator statements

              [D.E. 163].

   Defendant Cox joined in each of these motions. [D.E. 164, 165, 166, and 169.] For the following

   reasons, the Court should deny these motions.

                                PROCEDURAL BACKGROUND

          On June 27, 2023, a federal grand jury returned a three-count Indictment against the

   Defendants [D.E. 1]. On February 20, 2024, a federal grand jury returned a six-count Superseding



                                                   1
Case 1:23-cr-20271-DSL Document 177 Entered on FLSD Docket 02/28/2025 Page 2 of 31




   Indictment against the Defendants [D.E. 76]. Count 1 of the Superseding Indictment charges the

   Defendants with a health care fraud and wire fraud conspiracy; Counts 2–4 charge health care

   fraud; Count 5 charges an illegal health care kickback conspiracy; and Count 6 charges conspiracy

   to defraud the United States and make false statements. Id. The Defendants are scheduled to begin

   trial on May 5, 2025.

           The Government provided extensive discovery detailing the evidence it intends to offer at

   trial, and any potentially exculpatory or witness impeachment information. Over 11 million

   records have been produced to the Defendants, including: emails, cell phone images, and computer

   data obtained through search warrants; Medicare claims data, doctors’ orders and other medical

   records for hundreds of thousands of patients; financial records; material provided by cooperating

   witnesses; recordings; investigative reports; and documents acquired by the Government in other

   related matters. The Government produced interview reports from potential trial witnesses

   including documents shown to the witnesses. In total, the Government produced over 1,200

   interview reports. The Government also sought to organize the discovery into searchable formats,

   including by producing load-ready files when possible so that the Defendants could review the

   discovery in e-discovery platforms. The Government provided a curated set of all interview reports

   generated during the investigation to date on the Defendants’ request. The Government further

   indexed all discovery and provided logs with its productions to aid the defense review. Finally, the

   Government has responded to numerous, specific discovery requests, including requests to search

   for specific documents and information. In sum, the Government produced organized, extensive,

   curated, and user-friendly discovery—above-and-beyond its obligations—to aid the Defendants in

   their trial preparation.




                                                    2
Case 1:23-cr-20271-DSL Document 177 Entered on FLSD Docket 02/28/2025 Page 3 of 31




                                       FACTUAL BACKGROUND

          The allegations in the Superseding Indictment against the Defendants involve a complex

   scheme relating to telemedicine, orthotic braces, pain creams, and health insurance claims for

   hundreds of thousands of patients. [D.E. 76.] The Defendants operated an internet-based platform

   called DMERx that was used by dozens of purported telemedicine companies, telemarketing

   companies, and durable medical equipment (“DME”) suppliers. The Defendants programmed the

   platform to generate false and fraudulent doctors’ orders for orthotic braces and prescriptions for

   creams that the platform’s users bought and sold in exchange for kickbacks and bribes and used to

   bill Medicare and other insurers.

          Defendant Gary Cox created PMDRx in approximately 2014 to assist medical

   professionals in the creation of orders for power mobility chairs, and at times he called it DMERx.

   DMERx began generating orders for DME braces and later prescriptions for pain creams. In

   approximately September 2017, HealthSplash, Inc. purchased PMDRx/DMERx. Defendant

   Blackman was the owner and Chief Executive Officer of HealthSplash, and Cox remained with

   the company after the acquisition as a board member.

          The Defendants recruited numerous coconspirators into their scheme. They solicited

   owners of telemedicine companies, marketing companies, pharmacies, and DME suppliers to join

   the DMERx platform so that they could exchange beneficiary information to create prescriptions

   and doctors’ orders for DME in exchange for kickbacks and bribes. For instance, marketing

   companies solicited Medicare beneficiary information—including Medicare or insurance

   numbers—using deceptive television advertisements and mailers. Using the DMERx portal, these

   marketing companies transferred the information to telemedicine companies who paid

   telemedicine medical professionals to sign orders and prescriptions for medical products



                                                   3
Case 1:23-cr-20271-DSL Document 177 Entered on FLSD Docket 02/28/2025 Page 4 of 31




   containing the beneficiary information, including Medicare or insurance numbers. The marketing

   companies paid the telemedicine companies a kickback for the signed orders. After the order was

   signed by a medical professional, DMERx would transfer the order or prescription containing the

   beneficiaries’ information to a DME supplier or pharmacy that was pre-assigned by the marketing

   company. The DME supplier or pharmacy would bill Medicare or another federal health care

   program for the medical products. For arranging each of these kickback transactions, the

   Defendants charged each of the participants $5 per order or prescription.

          The Defendants did not just own and operate DMERx—they were also active participants

   in generating, selling, and billing Medicare for prescriptions and orders. In fact, the Defendants

   and their coconspirators orchestrated the fraud from the very beginning. They operated a marketing

   company called National Center for Pain (“NCP”), which sent deceptive mailers to Medicare

   beneficiaries indicating that Medicare had determined that the beneficiaries were eligible for a

   DME brace. Through NCP, they solicited Medicare beneficiaries’ information including Medicare

   and other insurance numbers and sold this information to other marketing companies on the

   DMERx platform. They sold this information to their coconspirators, including some of the largest

   users of the DMERx platform, to generate orders for braces and prescriptions for creams, among

   other things. The Defendants also owned a DME supplier, PME Home Health, that billed Medicare

   directly for DME orders purchased and signed by medical professionals through DMERx. In

   addition, the Defendants and their coconspirators directly sold prescriptions for pain creams that

   were generated through the DMERx portal in exchange for a kickback and bribe from pharmacies.

          Altogether this scheme resulted in over $1 billion in fraudulent claims to Medicare for

   DME and prescription pain creams that were medically unnecessary and whose prescriptions and

   orders were procured through the payment of kickbacks and bribes. Medicare paid more than $360



                                                   4
Case 1:23-cr-20271-DSL Document 177 Entered on FLSD Docket 02/28/2025 Page 5 of 31




   million to the various DME suppliers and pharmacies who obtained orders through DMERx as a

   result of these fraudulent claims.

                     THE DEFENDANTS’ MOTIONS SHOULD BE DENIED

      I.      The Defendants’ Motions for a Bill of Particulars Should be Denied [D.E. 161,
              169]

           The Defendants seek a “bill of particulars setting forth the identity of any known, indicted

   or unindicted coconspirators referenced in the Superseding Indictment.” On February 28, 2025,

   the Government provided the Defendants with a list of individuals for whom the Government

   intends to offer evidence of coconspirator statements in furtherance of a conspiracy under Federal

   Rule of Evidence 801(d)(2)(E). Thus, the Defendants’ request is moot. To the extent the

   Defendants seek additional information through these motions, the request should be denied as an

   inappropriate fishing expedition.

           A bill of particulars is intended only “to inform the defendant of the charge against him

   with sufficient precision to allow him to prepare his defense, to minimize surprise at trial, and to

   enable him to plead double jeopardy in the event of a later prosecution for the same offense.”

   United States v. Anderson, 799 F.2d 1438, 1441 (11th Cir. 1986) (quoting United States v. Cole,

   755 F.2d 748, 760 (11th Cir. 1985)); see also United States v. Colson, 662 F.2d 1389, 1391 (11th

   Cir. 1981) (“The purpose of a bill of particulars is to inform the defendant of the charge in

   sufficient detail to enable adequate defense preparation and to minimize surprise at trial.”).

           “A defendant’s constitutional right to know the offense with which he is charged must be

   distinguished from the defendant’s need to know the evidentiary details establishing the facts of

   such offense which may be satisfied by a bill of particulars.” United States v. Mainieri, 691 F.

   Supp. 1394, 1396 (S.D. Fla. 1988). A defendant may not “seek a bill of particulars as a tool for

   procuring generalized discovery, information that is available from other sources, or a

                                                    5
Case 1:23-cr-20271-DSL Document 177 Entered on FLSD Docket 02/28/2025 Page 6 of 31




   comprehensive preview of the Government’s trial proof or theories.” United States v. Fla. W. Int’l

   Airways, Inc., No. 10-20864-CR, 2011 U.S. Dist. LEXIS 156009, at *3 (S.D. Fla. Sept. 13, 2011)

   (citing United States v. Rosenthal, 793 F.2d 1214, 1227 (11th Cir. 1986)); see also Colson, 662

   F.2d at 1391; United States v. Burgin, 621 F.2d 1352, 1359 (5th Cir. 1980); United States v.

   Kilrain, 566 F.2d 979, 985 (5th Cir. 1978); Elso v. United States, No. 07-21313, 2010 U.S. Dist.

   LEXIS 144563, at *84 (S.D. Fla. Dec. 17, 2010) (a bill of particulars may not be used “to determine

   in advance the government’s proof”). “Full discovery also obviates the need for a bill of

   particulars.” United States v. Giese, 597 F.2d 1170, 1180 (9th Cir. 1979). It is inappropriate to

   request a bill of particulars identifying unindicted coconspirators. Colson, 662 F.2d at 1391

   (affirming denial of motion for bill of particulars seeking “the identity of unindicted coconspirators

   and the dates and locations of conduct in furtherance of the alleged conspiracy”); see also United

   States v. Scrushy, No. CR-03-BE-530-S, 2004 U.S. Dist. LEXIS 30219, at *25 (N.D. Ala. Mar.3,

   2004) (denying bill of particulars to identify coconspirators where request sought “mere discovery,

   not facts essential to an element of the charged offense missing from the indictment”).

          To the extent the Defendants seek only the identities of the coconspirators for whom the

   Government intends to offer statements under Rule 801(d)(2)(E), their motions should be denied

   as moot because the Government provided the Defendants with a list of those coconspirators today.

   Moreover, for the coconspirators who were interviewed by law enforcement, the Government

   provided the Defendants with interview reports that detail statements they provided. As to other

   coconspirators who were not interviewed, the Government provided searchable emails and other

   documents that contain these conspirators’ statements which the Government may offer as Rule

   801(d)(2)(E) statements. No rule requires the Government to curate this evidence and provide the

   Defendants with an advanced, play-by-play account of its expected evidence and trial strategy.



                                                     6
Case 1:23-cr-20271-DSL Document 177 Entered on FLSD Docket 02/28/2025 Page 7 of 31




            Accordingly, the Defendants’ motions for a bill of particulars should be denied [D.E. 161,

   169].

      II.      The Defendants’ Motions to Enforce the Due Process Protections Act Should be
               Denied [D.E. 160 and 165]

            The Defendants present the Court with a list of nine requests they characterize as “Brady”

   and a series of other requests regarding two potential witnesses. The requests, which largely ask

   the Government to identify among the discovery specific subsets of information for the

   Defendants, should be denied.

            “There is no general constitutional right to discovery in a criminal case, and Brady [v.

   Maryland] did not create one.” Weatherford v. Bursey, 429 U.S. 545, 559 (1977); see also United

   States v. Allen, 416 Fed. Appx. 875, 879 (11th Cir. 2011) (“The Brady rule is not an evidentiary

   rule that grants broad discovery powers to a defendant.”) (internal quotations and citations

   omitted). When the Government meets or exceeds its disclosure obligations, a defendant has no

   cause to complain about the volume of the United States’ production. United States v. Jordan, 316

   F.3d 1215, 1253 (11th Cir. 2003).

            Similarly, “[n]othing in [Federal] Rule [of Criminal Procedure] 16(a)(1)(e) requires the

   Government to identify the various subsets of evidence it produces pursuant to that rule.” United

   States v. Perraud, No. 09-60129, 2009 U.S. Dist. LEXIS 123150, at *29-30 (S.D. Fla. Dec. 24,

   2009) (denying motion requiring “the United States to identify expressly the evidence that the

   Government intends to use in its case in chief and the evidence that is material to preparing the

   defense”); see also Scrushy, 2004 U.S. Dist. LEXIS 30219, at *7 (“Rule 16(a)(1)(E)(ii) does not

   require the Government to specify from among the universe of discovery documents produced to

   defendant which of those documents it intends to rely upon at trial.”).

            The Jencks Act, 18 U.S.C. § 3500, also “does not authorize fishing expeditions,” and the

                                                    7
Case 1:23-cr-20271-DSL Document 177 Entered on FLSD Docket 02/28/2025 Page 8 of 31




   defendant bears the burden of establishing the existence of specific “statements” within the

   meaning of the Jencks Act before the Court may order their production. United States v. Delgado,

   56 F.3d 1357, 1364 (11th Cir. 1995) (citing United States v. Graves, 428 F.2d 196, 199 (5th Cir.

   1970)). Moreover, the Jencks Act does not require the Government to produce witness statements

   until after the witness has testified on direct examination. Furthermore, impeachment material

   subject to Giglio must be disclosed “in sufficient time to permit the defendant to make effective

   use of that material at trial.” United States v. Farley, 2 F.3d 645, 654 (6th Cir. 1993); see also

   United States v. Martinez, 941 F.2d 295, 301 (5th Cir. 1991) (“[A] Giglio violation does not occur

   when the matter was disclosed to the defense before the end of the trial.”).

          The Defendants issued a generalized complaint that the Government has “turned over

   haystacks of material in discovery and encouraged the defense to find the exculpatory needles.”

   [D.E. 160 at 4.] However, “Brady and its progeny permit the government to make information

   within its control available for inspection by the defense and impose no additional duty on the

   prosecution team members to ferret out any potentially defense-favorable information from

   materials that are so disclosed.” United States v. Pelullo, 399 F.3d 197, 212 (3d Cir. 2005), as

   amended (Mar. 8, 2005). The Defendants’ reliance on United States v. Skilling is unavailing. In

   Skilling, the defendant contended that the Government’s discovery practice, which he described as

   an “open file” of several hundred million pages of documents, “resulted in the effective

   concealment of a huge quantity of exculpatory evidence.” 554 F.3d 529, 576 (5th Cir. 2009), aff’d

   in part and reversed in part on other grounds, 561 U.S. 358 (2010). Skilling argued that the

   Government “suppressed evidence in violation of Brady” because it “never directed Skilling to a

   single Brady document contained in the open file.” Id. In rejecting the defendant’s claim, the Fifth

   Circuit observed that “[a]s a general rule, the government is under no duty to direct a defendant to



                                                    8
Case 1:23-cr-20271-DSL Document 177 Entered on FLSD Docket 02/28/2025 Page 9 of 31




   exculpatory evidence within a larger mass of disclosed evidence.” Id. (citing cases). The Court

   also held that “where potentially exculpatory information is available to the defendant through an

   exercise of due diligence, there is no suppression for the purposes of Brady.” Id.

          Similarly, the Court in Warshak rejected a claim that the Government “shrugged off its

   obligations under Brady by simply handing over millions of pages of evidence and forcing the

   defense to find any exculpatory information contained therein.” United States v. Warshak, 631

   F.3d 266, 297 (6th Cir. 2010) (the electronic evidence produced to the defense filled three “tera-

   drives” spanning 17 million pages). Any argument that the Government is “obliged to sift

   fastidiously through the evidence . . . in an attempt to locate anything favorable to the defense,”

   comes up “empty.” Id.; see also Rhoades v. Henry, 638 F.3d 1027, 1039 (9th Cir. 2011) (“Rhoades

   points to no authority requiring the prosecution to single out a particular segment of a videotape

   [produced in discovery], and we decline to impose one.”). Thus, the Court should reject any claim

   that the Government has not complied with its discovery obligations because of the volume of the

   discovery in this matter.

          The Government will address each of the Defendants’ requests individually and

   acknowledges that it is aware of, and has complied with, its discovery obligations under the Rules

   of Criminal Procedure, Brady, Giglio, and their progeny.

          A.      Copies of Presentence Investigative Reports and Pretrial Services Reports for
                  Witnesses

          The Defendants’ request for presentence investigative reports (“PSRs”) and Pretrial

   Services reports should be denied.

          First, PSRs are not considered within the Government’s (i.e., prosecution team’s)

   possession. See United States v. Brazel, 102 F3d. 1120, 1150 (11th Cir. 1997) (“Within the

   possession, custody, or control of the government does not include possession of a federal court

                                                    9
Case 1:23-cr-20271-DSL Document 177 Entered on FLSD Docket 02/28/2025 Page 10 of 31




   or probation officer.”) (citation omitted); United States v. Trevino, 556 F.2d 1265, 1270-71 (5th

   Cir. 1977) (holding that a PSR generally is not considered to be in the government’s possession

   for purposes of Brady material); United States v. Perez-Lopez, 262 Fed. Appx. 974, 982 (11th Cir.

   2008) (upholding a district court’s ruling that a defendant could not use a PSR to impeach a witness

   because it was sealed and the witness did not sign anything agreeing to its accuracy); see also

   United States v. Gomez, 323 F.3d 1305, 1307 (11th Cir. 2003) (noting that control over documents

   like PSRs is a discretionary matter with the district court). The Government is aware of its

   obligations under Brady and Giglio and has begun the process of unsealing and producing

   information related to sentencing to the extent it is in the Government’s possession and control,

   and to the extent the information is discoverable.

          Second, the Government is not in possession and control of the bulk of the Pretrial Services

   reports that the Defendants request. As the Court knows, the standard practice is for Pretrial

   Services to ask for the return of their reports. The Government will review any Pretrial Services

   reports in its possession for discoverable information and timely produce it to the Defendants.

          B. Statements of Cooperating Witnesses

          The Defendants request statements “tending to show the cooperator was not aware of any

   scheme to defraud, did not believe there was such a scheme, believed that the cooperator’s conduct

   was legal, and/or believed that the relationship between the cooperator and HealthSplash,

   DMERX, or Brett Blackman was legitimate.” The Government’s practice is to document

   substantive statements of a potential witness in interview reports and provide those reports to the

   Defendants. To date, the Government has provided over 1,200 interview reports containing

   statements of potential witnesses in this case. The Government also provided email

   communications between Government attorneys and cooperators’ attorneys, when appropriate, to



                                                   10
Case 1:23-cr-20271-DSL Document 177 Entered on FLSD Docket 02/28/2025 Page 11 of 31




   produce discoverable information. The Defendants have not indicated that they believe there are

   undisclosed statements of witnesses that are discoverable, and the Government is not aware of any.

   Thus, the motion should be denied. See Delgado, 56 F.3d at 1364.

           C. Statements of Attorneys for Cooperating Witnesses

           The Defendants seek statements of cooperating witnesses’ attorneys defending

   cooperators’ conduct, suggesting that the conduct was legal, or changing the cooperators’ versions

   of events. Essentially, the Defendants seek statements made during the negotiation of plea

   agreements, but they provide no authority for this request and overreach the bounds of Brady and

   Giglio. Thus, these requests should be denied. 1 See, e.g., United States v. Miller, 250 F.R.D. 588,

   593 (D. Kan. 2008) (denying request for draft agreements and holding that the defendants were

   entitled only to final plea agreements, proffer letters, and immunity agreements).

           Plea discussions between prosecutors and defense attorneys are by their nature part of a

   negotiation process that cannot be deemed statements of a cooperating witness. See, e.g., United

   States v. Singhal, 876 F. Supp. 2d 82, 104 (D.D.C. 2012) (“[T]he Court also denies Singhal’s

   Motion to compel the government to produce all documents reflecting the government’s

   communications with [the cooperating witness’s] attorneys, as this information is not material to

   the defense’s preparation of its case under Rule 16.”); United States v. Buske, 2011 WL 2912707

   at *4 (E.D. Wis. July 18, 2011) (“[D]isclosure of communications regarding ‘the negotiation

   process’ by which any immunity or leniency agreements were reached would be unnecessary so

   long as the final agreements between [the witnesses] and the government were fully and accurately


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     The Defendants’ citation to United States v. Triumph Capital Grp., Inc. misses the mark. 544 F.3d 149,
   161–62 (2d Cir. 2008) (concluding failure to disclose agent’s proffer notes constituted Brady violation
   because proffer notes were “materially different” from the description of the proffer in the disclosed FBI
   report and there was “reasonable probability” that disclosure might have given the jury reasonable doubt as
   to defendant’s culpability). Here, the Government has voluntarily produced and disclosed all known agent
   notes.

                                                       11
Case 1:23-cr-20271-DSL Document 177 Entered on FLSD Docket 02/28/2025 Page 12 of 31




   reflected in the plea agreements and proffer letters defendant already had. Preliminary versions of

   such agreements may confuse more than enlighten[.]”). The statements made by defense attorneys

   during plea negotiations are preliminary in nature and may differ from what the cooperating

   witness truly believed or said, and thus they cannot be said to be statements of the witness, Brady,

   or Giglio. See United States v. Vorley, 1:18-cr-35 (N.D. Ill. Sept. 5, 2020), ECF No. 305 (granting

   United States’ request that draft settlement communications between counsel, including draft plea

   agreements, are not discoverable and noting that “draft plea agreements are not statements of the

   defendant”); cf. United States v. Thomas, 97 F.3d 1499, 1502 (D.C. Cir. 1996) (“[T]he author may

   reserve judgment about his draft until he reviews it in final, signifying his approval only when he

   affixes his signature to the completed document. If so, only the final document qualifies as a

   statement under § 3500(e)(1).” (internal citation omitted)).

          Furthermore, as a policy matter, courts have recognized that “requiring production of the

   substance of such communications with counsel, and/or draft agreements, could have a chilling

   effect on plea negotiations.” United States v. Weaver, 992 F. Supp. 2d 152, 158 (E.D.N.Y. 2014)

   (denying defense motion to compel production of “the oral and written inducements,

   correspondence, negotiations, and proffers—both with the witnesses and the witness’s counsel—

   that resulted in the witness’s ultimate cooperation, as well as any changes in the witness’s story

   along the way,” and holding that “[i]n the unlikely event that there is unanticipated testimony at

   trial from a cooperating witness that is somehow inconsistent with plea negotiation material, the

   government will produce the inconsistent statement then”).

          Because attorney plea negotiations cannot be said to be Brady, Giglio, or Jencks Act

   statements, they are not discoverable. Furthermore, the Government is not aware of attorney

   proffers of the kind the Defendants seek in their motions. For these reasons, the Defendants’



                                                   12
Case 1:23-cr-20271-DSL Document 177 Entered on FLSD Docket 02/28/2025 Page 13 of 31




   request for attorneys’ statements should be denied.

          D. Various Requests for Exculpatory Evidence

          The Defendants request several categories of evidence that are arguably relevant to the

   charges in the Superseding Indictment and any potential defenses. [See D.E. 160 at 7-11.] The

   Government is aware of its discovery obligations under the Federal Rules of Criminal Procedure,

   Brady, Giglio, and their progeny, and it has complied with these obligations. The Government

   produced the requested materials to the extent they are in its possession, and it is not obligated to

   curate materials for the defense. See, e.g., Pelullo, 399 F.3d 212 (holding government not obligated

   to “ferret out” exculpatory materials). The Government also notes that although it is not obligated

   to do so, it has taken extensive efforts to respond to the Defendants’ questions regarding discovery

   and, as noted above, has organized the discovery in a searchable, user-friendly way.

          For instance, the Government provided voluminous materials that would be responsive to

   the Defendants’ request for “[a]ny and all compliance policies, training policies, compliance

   committee meeting minutes, board meeting minutes, or other internal documents from

   HealthSplash or DMERX concerning: enforcement of medical necessity requirements; improving

   or enhancing compliance practices at Healthplash (sic) or DMERX; interactions between and

   among HealthSplash or DMERX compliance personnel and HealthSplash or DMERX clients

   concerning compliance; or any other document from HealthSplash or DMERX about the

   importance of legal compliance.” Running a simple search through the discovery materials for

   documents responsive to “DMERX compliance personnel” resulted in 247 documents including a

   June 19, 2017, email from Defendant Cox noting in part “Compliance and integrity of the

   assessment and documentation process for DME items is a top priority for DMERX.”

   [HEALTHSPLASH-DOJ8-0000510162.] The Government also produced a November 5, 2016,



                                                    13
Case 1:23-cr-20271-DSL Document 177 Entered on FLSD Docket 02/28/2025 Page 14 of 31




   email from Defendant Cox in which he states, in part, “[i]t is our goal to assure compliance at

   every level of the prescribing process in order to minimize audit issues.” [HEALTHSPLASH-

   DOJ8-0000510084.] The Government produced numerous copies of a third document, a

   prospective investor presentation, that describes various HealthSplash executives’ roles and noted

   that over “the last eight years, Brett [Blackman] has shifted his attention to the healthcare industry.

   He successfully expanded medical compliance documentation technology company, PMDRX,

   into DMERX to expand compliance offers.” [GOOG-HEALTHSPLASH-0000062528.] Thus, to

   the extent the Defendants believe that discussions about compliance may be exculpatory, the

   Government has produced this information in volumes.

          The Defendants also seek information regarding whether the “operation of HealthSplash,

   DMERX, PME Home Health, and National Center for Pain, have been reviewed or approved by

   lawyers.” [D.E. 160 at 10.] The Defendants are aware that at least two attorneys were involved in

   HealthSplash’s operations because the Government and the Defendants have been negotiating

   waivers so that the Government may interview these attorneys, which the Government has invited

   defense counsel to join. And of course, the Government produced voluminous communications

   involving attorneys including an October 31, 2017, email from Defendant Cox copying Defendant

   Blackman with the subject line “FW: DMERX – Compliance Concerns.DOCX” in which Cox

   discussed an attorney’s comments on a document related to the non-compliance of one of the

   telemedicine companies on DMERx. [GOOG-HEALTHSPLASH-0000000190.] The Government

   also produced a letter from an attorney to Defendant Blackman on January 29, 2018, with the

   subject “Opinion Letter” in which the attorney discusses the details of HealthSplash’s operations

   and seeks a written list of facts from Blackman. [GOOG-HEALTHSPLASH-0000001059.] Thus,

   to the extent attorney review of DMERx and HealthSplash operations are exculpatory, the



                                                     14
Case 1:23-cr-20271-DSL Document 177 Entered on FLSD Docket 02/28/2025 Page 15 of 31




   Government has produced this information.

          These are but a few examples of the volumes of discovery responsive to the Defendants’

   instant requests. The Defendants do not provide any support for their belief that the Government

   has not produced any of the requested evidence. They also do not point to any additional sources

   of information they think may not have been searched or reviewed. Thus, the Defendants’ failures

   to point to any information that is missing from the discovery is sufficient to deny these requests.

          E. Information Regarding Keaton Langston

          The Defendants request additional information regarding Mr. Langston, but Defendant

   Blackman notes in his submission that the Government responded to his request for information

   as to Mr. Langston. The Government is aware of its obligations under the Federal Rules of

   Criminal Procedure, Brady, Giglio, and their progeny, and has complied with these obligations

   and will continue to do so. The Defendants have pointed to no deficiency in the discovery

   regarding Mr. Langston. 2 To the extent the Government comes into possession of discoverable

   information regarding Mr. Langston, it will produce it to the Defendants expeditiously. The

   requests regarding Mr. Langston should be denied as moot.

          F. Information Regarding Herb Kimble

          The Defendants seek extensive discovery regarding Herb Kimble—a coconspirator

   involved in the scheme—despite the fact that the Government has stated it does not intend to call

   him to testify at trial. If the Government introduces certain of Kimble’s statements under Federal

   Rule of Evidence 801(d)(2)(E), the Defendants state they may impeach his statements under

   Federal Rule of Evidence 806.


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     Defendant Blackman references an alleged bail violation regarding Mr. Langston. As noted above, the
   Government is generally not in possession of Pretrial Services reports, however the Government has
   requested information from the prosecution team that charged Mr. Langston regarding any alleged bail
   violations and will produce any discoverable information when it comes into the Government’s possession.

                                                     15
Case 1:23-cr-20271-DSL Document 177 Entered on FLSD Docket 02/28/2025 Page 16 of 31




          Without specifying how the information might be used under Rule 806, the Defendants

   make eight requests for Kimble information:

              1) Any and all communications between the Government and counsel for Mr. Kimble
                 that led to the plea agreement reached on his behalf;
              2) Any and all communications between the Government and counsel for Mr. Kimble
                 concerning his repeated failure to appear at sentencing;
              3) Any and all communications between the Government and counsel for Mr. Kimble
                 concerning revising or terminating his plea agreement;
              4) Any and all communications between Mr. Kimble or his lawyers and the
                 Government concerning efforts to conduct covert recordings of Mr. Blackman. If
                 no such efforts to record Mr. Blackman occurred during Mr. Kimble’s proactive
                 cooperation, counsel for Mr. Blackman requests that the Government disclose that
                 in response to this Motion.
              5) Any and all communications between Mr. Kimble or his lawyers and the
                 Government in January and February 2019 about payments made to HealthSplash.
                 If there were no such communications, counsel for Mr. Blackman requests that the
                 government disclose that in response to this Motion.
              6) Provide a copy of any agreement, email or document, granting Mr. Kimble illegal
                 activity authority during the covert part of Mr. Kimble’s cooperation.
              7) Provide a copy of any reports detailing the specific illegal activity approved and
                 authorized by law enforcement during the covert part of Mr. Kimble’s cooperation.
              8) Provide a copy of any report detailing any unauthorized illegal activity during the
                 covert part of Mr. Kimble’s cooperation.
          Rule 806 is not a blank check for impeachment, however, and the Defendants’ motions

   should be denied to the extent they seek information that may not be used to impeach Kimble and

   is not otherwise discoverable.

          Rule 806 has been recognized by the Eleventh Circuit to permit the introduction of a

   declarant’s prior statements when those statements are squarely inconsistent with a statement of

   the declarant that the Government offered into evidence. For example, in Grant, the Eleventh

                                                  16
Case 1:23-cr-20271-DSL Document 177 Entered on FLSD Docket 02/28/2025 Page 17 of 31




   Circuit agreed that an affidavit from the declarant stating in part that he had lied to undercover

   agents was admissible when that lie concerned some of the very same statements that the

   Government elicited through the agent at trial. United States v. Grant, 256 F.3d 1146, 1153 (11th

   Cir. 2001) (“If Wilson [declarant] had been called as a witness and testified, for example, that he

   was taking the cocaine he was buying to his partner to test and evaluate it, his affidavit statements

   indicating that he had lied to the agents when he told them he had a partner would surely be

   admissible.”). In short, “[t]he test is whether the out-of-court statement would have been

   admissible for impeachment purposes had the coconspirator statements been delivered from the

   witness stand by the coconspirator himself, not as hearsay about what he said during the

   conspiracy . . . . ” Id. at 1154.

           Rule 806 does not grant an unfettered license to conduct a mini-trial regarding the declarant

   or to convert a trial about a defendant’s conduct into a trial about the declarant. The Eleventh

   Circuit has recognized obvious and common-sense limits to the impeachment that may be offered

   under Rule 806. See United States v. Rodriguez, 259 F. App’x 270, 274 (11th Cir. 2007) (excluding

   “post-indictment, conclusory, self-serving statements made in anticipation of litigation, when the

   affiants had significant incentive to make false exculpatory statements”).

           Furthermore, evidence offered under Rule 806 must be offered only for impeachment

   purposes or, once the declarant’s credibility has been attacked, to support the declarant’s

   credibility. In other words, the statement offered under Rule 806 “must be inconsistent with the

   statement already in evidence.” Rodriguez, 259 F. App’x at 274; see also Grant, 256 F.3d. at 1156

   (“Rule 806 [makes] . . . statements admissible for impeachment purposes, and the point of

   admitting inconsistent statements to impeach is not to show that they are true, but to aid the jury

   in deciding whether the witness is credible . . . . ”). Thus, the Rule does not permit the defense to



                                                    17
Case 1:23-cr-20271-DSL Document 177 Entered on FLSD Docket 02/28/2025 Page 18 of 31




   launder in otherwise irrelevant or inadmissible evidence in support of their theory of the case or

   their case-in-chief. Grant, 256 F.3d at 1155 (“The evidence of the affidavit statements could do no

   more than impeach and could not provide a complete defense if the government requested the

   limiting instruction to which it would have been entitled.”). Similarly, Rule 806 applies only if

   hearsay statements or statements admissible under Rule 801(d)(2)(C), (D), or (E) are introduced.

   It does not apply merely because evidence about a non-testifying coconspirator is introduced. See

   United States v. Watson, 611 F. App’x 647, 660 (11th Cir. 2015) (“Because no hearsay statement

   . . . was admitted in evidence, Rule 806 did not allow [the defendant] to attack the credibility of

   [the declarant] . . . .”).

           Finally, even if evidence may be admissible under Rule 806, the Court must still weigh the

   prejudice of such evidence, if any, against its probative value. The Court may properly exclude

   Rule 806 evidence if its probative value is substantially outweighed by the danger of unfair

   prejudice under Rule 403. See Rodriguez, 259 F. App’x at 275 (“Under the Federal Rules of

   Evidence, all evidence is subject to the probative-prejudicial balancing test of Rule 403.”)

   (upholding district court’s decision to exclude Rule 806 evidence under Rule 403).

           The Government has provided substantial discovery regarding Herb Kimble, including

   reports of all his interviews and investigative activity. The Defendants are now requesting

   statements from his attorneys, from investigators, and from prosecutors—in fact only requests 4

   and 5 refer to any statements by Kimble, and none of those statements can be used under Rule 806.

   Request 4 seeks communications among Kimble, his attorneys, and the Government regarding

   alleged covert recordings. The Government notes it possesses no audio recordings of the

   Defendants. In any event, the Defendants do not explain how these statements might in any way

   impeach statements made by Kimble in furtherance of a conspiracy with the Defendants. Similarly,



                                                   18
Case 1:23-cr-20271-DSL Document 177 Entered on FLSD Docket 02/28/2025 Page 19 of 31




   request 5 seeks communications among Kimble, his lawyers, and Government attorneys regarding

   payments made to HealthSplash in January and February 2019. It is not clear how any of these

   statements might impeach statements made by Kimble in furtherance of the conspiracy. The

   Government will not offer statements of Kimble regarding the payments made by Kimble’s

   marketing company to HealthSplash in 2019 under Rule 801(d)(2)(E). Thus, any statements

   Kimble made regarding these payments may not be used for impeachment purposes.

             For these reasons, the Court should deny the Defendants’ requests for discovery regarding

   Herb Kimble.

      III.      Defendants’ Motion in Limine Should be Denied [D.E. 162]

             The Defendants move (1) to exclude questions speculating about Defendant Blackman’s

   knowledge [D.E. 162 at 3-4]; (2) to exclude testimony about Defendant Blackman’s character

   [D.E. 162 at 4-5]; and (3) to permit impeachment of coconspirators pursuant to Federal Rule of

   Evidence 806 [D.E. 162 at 5-6].

             A. Certain Questions about Blackman’s Knowledge are Permissible

             The Defendants provide no support for the sweeping assertion that “the government should

   be barred from asking witnesses questions directly about whether Mr. Blackman knew certain

   things.” (DE 162 at 3). The Defendants also argue that witnesses should not be permitted to testify

   that they believe the Defendants committed fraud because this calls for an opinion as to the

   “ultimate question.” The motion incorrectly assumes that the Government will ask impermissible

   questions during trial based on questions asked during interviews. The Government is aware of

   the rules of evidence and will not seek to elicit improper testimony, including asking witnesses to

   speculate what may have been in the Defendants’ minds. However, as Defendant Blackman notes,

   knowledge and intent are critical issues in any fraud case. Moreover, the rules of evidence



                                                    19
Case 1:23-cr-20271-DSL Document 177 Entered on FLSD Docket 02/28/2025 Page 20 of 31




   specifically allow for lay witnesses to state an opinion as to the “ultimate issue.” Fed. R. Evid.

   704(a) (“An opinion is not objectionable just because it embraces an ultimate issue.”). Therefore,

   the Government may elicit testimony and offer evidence that demonstrates directly and

   circumstantially the Defendants’ knowledge, including through documents the Defendants were

   in positions to know about, documents reviewed by the witness, emails, and testimony about

   witness’s communications with and observations of the Defendants. It is not speculation for a

   witness to draw a conclusion based on interactions and communications with the Defendants, or

   what others have conveyed to them about the Defendants. This is true even if the witness draws a

   conclusion or an opinion that the Defendants engaged in a fraud or a scam. See United States v.

   Hoffecker, 530 F.3d 137, 171 (3d Cir. 2008) (court did not abuse discretion in allowing lay opinion

   that defendant engaged in a “scam”). The Defendants’ motion should be denied.

          B. The Government May Rebut Character Evidence Offered by the Defendants

          The Defendants again provide no legal support for the contention that Government

   witnesses’ testimony about Defendant Blackman’s character or what a witness learned about

   Defendant Blackman’s reputation are impermissible. [D.E. 162 at 4-5.] The Government

   recognizes there are limited circumstances in which character evidence is admissible and does not

   intend to seek to introduce improper evidence of the Defendants’ character. However, if either

   Defendant places his character in issue, either through cross-examination or through his own

   witnesses should he choose to present them, the Government may rebut that evidence. See United

   States v. Mills, 704 F.2d 1553, 1563 (11th Cir. 1983). Additionally, Defendant incorrectly argues

   that witnesses cannot offer “legal conclusions or opinions that Mr. Blackman engaged in

   intentional fraud.” [D.E. 162 at 4.] As noted above, Federal Rule of Evidence 704(a) provides that

   an opinion is proper even when it “embraces an ultimate issue.” See also United States v. Sotis, 89



                                                   20
Case 1:23-cr-20271-DSL Document 177 Entered on FLSD Docket 02/28/2025 Page 21 of 31




   F.4th 862, 876 (11th Cir. 2023). Therefore, Government witnesses can testify to their

   communications, observations, and conclusions based on those observations. The Defendants’

   motion should be denied.

           C. The Defendants’ Ability to Impeach Through Rule 806 Must Be Properly Based

           The Defendants state that should the Court allow statements of coconspirators pursuant to

   Fed. R. Evid. 801(d)(2)(E), the Defendants “intend[] to impeach those declarants, whether they

   testify at trial or not, pursuant to Fed. R. Evid. 806.” [D.E. 162 at 5.] The Government has

   addressed this above at section II.F and reasserts here that without more than the general

   reservation by defense, the Government can only set out the parameters in which such

   impeachment material would be permissible. Here, the Defendants do not assert the method in

   which they would seek to impeach. The Government moves to preclude the improper use of Rule

   806 to launder in inadmissible hearsay for substantive purposes. For example, agent notes or

   communications are typically not statements of the declarant and do not necessarily constitute

   prior inconsistent statements of the declarant. Likewise, recordings of the declarant may or may

   not constitute proper impeachment of the declarant. As in Rodriguez, any such recordings or prior

   statements must be statements that are inconsistent with the statement already in evidence, not

   merely self-serving hearsay that supports the Defendants’ substantive case. The Government

   respectfully requests that the Defendants be ordered to produce any recordings or transcripts 3 on

   which they intend to rely, including for impeachment purposes and/or under Rule 806. The

   Government further requests that the Defendants be precluded from improperly using Rule 806 to

   admit irrelevant, prejudicial evidence or inadmissible hearsay.




   3
     The Court’s pretrial scheduling order [D.E. 130] requires that counsel exchange proposed transcripts no
   later than one week before the Final Pretrial Conference.

                                                      21
Case 1:23-cr-20271-DSL Document 177 Entered on FLSD Docket 02/28/2025 Page 22 of 31




       IV.        Defendants’ Motion for a James Hearing Should be Denied [D.E. 163]

             The Defendants request that this Court conduct a separate pre-trial hearing to consider the

   evidentiary foundation for each statement of coconspirators that may be offered at trial. As the

   Defendants acknowledge, under the law in the Eleventh Circuit, such a hearing is unnecessary. 4

   Here it is not only not required but would be burdensome. A pre-trial hearing to consider the

   foundation for every coconspirator statement is likely to become a mini-trial and unnecessarily

   prolong pre-trial litigation. The Government has already provided a list of potential cooperating

   witnesses on August 23, 2024, along with an index to their interview reports and related materials

   with a bespoke production for the ease of counsel (Production 34, November 13, 2024). Prior to

   filing this response, the Government produced a list of coconspirators to assist the defense in

   preparation for trial. There will be ample opportunity for the Court to resolve any objections to

   admissibility of evidence—should there be any—and to safeguard the Defendants’ right to a fair

   trial during the ordinary course of the trial. Therefore, the Defendants’ motion should be denied.

             A.      Legal Standard

             Statements that would otherwise be hearsay are admissible if they are made by a

   coconspirator of a party during the course and in furtherance of the conspiracy. Fed. R. Evid.

   801(d)(2)(E). The Rule does not provide an exception to the rule against hearsay; rather, statements

   of coconspirators are not hearsay where the Government establishes, by a preponderance of the

   evidence: (1) that a conspiracy existed; (2) that the defendant and the declarant were members of

   the conspiracy; and (3) that the statement was made during the course and in furtherance of the

   conspiracy. United States v. James, 590 F.2d 575 (5th Cir. 1979) cert. denied, 442 U.S. 917,


   4
     The Defendants’ proposed “compromise” requiring the Government to identify all coconspirator
   statements 45 days before trial is not practical nor required for the reasons set forth herein.

                                                     22
Case 1:23-cr-20271-DSL Document 177 Entered on FLSD Docket 02/28/2025 Page 23 of 31




   (1979), overruled in part by Bourjaily v. United States, 483 U.S. 171, (1987); United States v.

   Magluta, 418 F.3d 1166, 1177-78 (11th Cir. 2005); United States v. Miles, 290 F.3d 1341 (11th

   Cir. 2002); United States v. Castleberry, 116 F.3d 1384 (11th Cir. 1997); United States v. Sanchez,

   722 F.2d 1501, 1508 (11th Cir. 1984) (quoting James, 590 F.2d at 58). The rule expressly permits

   the Court to consider the coconspirator statements themselves, along with independent outside

   evidence, to determine whether a conspiracy existed. Bourjaily, 483 U.S. 171 (1987); United States

   v. Byrom, 910 F. 2d 725 (11th Cir. 1990).

          The Supreme Court has recognized the relevance and weight that statements of

   coconspirators provide to the factfinder. “Because they are made while the conspiracy is in

   progress, such statements provide evidence of the conspiracy’s context that cannot be replicated,

   even if the declarant testifies to the same matters in court.” United States v. Inadi, 475 U.S. 387,

   106 S. Ct. 1121, 1126 (1986). The Eleventh Circuit applies a liberal standard in determining

   whether a statement is made in furtherance of a conspiracy. United States v. Bazemore, 41 F.3d

   1431 (11th Cir. 1994); United States v. Thompson, 976 F.2d 666 (11th Cir. 1992). Also, the

   Eleventh Circuit favors admission of coconspirator declarations where the Government assures the

   Court that the statement will be connected to a conspiracy later in the trial. United States v. Wenxia

   Man, 891 F.3d 1253, 1271-72 (11th Cir. 2018); United States v. Hasner, 340 F.3d 1261, 1275

   (11th Cir. 2003).

          A pre-trial determination of the admissibility of coconspirator statements is not required

   in the Eleventh Circuit. United States v. Holland, 117 F.4th 1352, 1360 (11th Cir. 2024) (“nothing

   in James contemplates a pretrial hearing to assess whether an out-of-court declarant or party is

   guilty of a crime”); see also United States v. Cross, 928 F.2d 1030, 1052, n.71 (11th Cir. 1991)

   (rejecting an argument that the district court should have conducted a hearing prior to the



                                                    23
Case 1:23-cr-20271-DSL Document 177 Entered on FLSD Docket 02/28/2025 Page 24 of 31




   introduction of a coconspirator statements at trial); United States v. Khoury, 901 F.2d 948, 971

   (11th Cir. 1990) (noting that holding a pre-trial James hearing is not necessary); Sanchez, 722 F.2d

   at 1508 (“A separate James hearing prior to the presentation of the government’s case in

   chief . . . is not required.”); United States v. Pepe, 747 F.2d 632 (11th Cir. 1984) (although the

   district court held a 13-day James hearing, a court may decline to hold a James hearing if it is

   impractical); United States v. Roe, 670 F.2d 956, 962 (11th Cir. 1983) (rejecting “defendants’

   argument that the district court’s failure to conduct a hearing outside the presence of the jury before

   admitting the challenged statements” constituted error); United States v. Rodriguez, 694 F.2d 251,

   225 (11th Cir. 1982) (holding that “the trial court did not abuse its discretion in denying the [James]

   hearing and admitting the evidence subject to being connected up”).

          In Roe, the Court explained that James merely “established the ‘preferred order of proof’

   concerning the admission of coconspirator statements.” 670 F.2d at 962. Further, the Roe court

   noted that James itself does not indicate that such a hearing is absolutely essential. Id. “The James

   court made clear that if the district court concludes that a hearing is not reasonably practical, the

   district court could admit the statements subject to the government’s ‘connecting them up’ with

   enough independent evidence by the end of trial.” Id. (quoting James, 590 F.2d at 582).

          In Cross, the Court explained that “it [is] sufficient that the district court admit[] [the

   challenged statements] on the government’s assurance that they [will] be connected to a

   conspiracy, and that the court rule[] at the close of the government’s case that the evidence [is]

   admissible.” Cross, 928 F.2d at 1052, n.71; see also Sanchez, 722 F.2d at 1508 (affirming admission

   of coconspirator statements where court found conditions for criteria were found “[a]t the

   conclusion of the government’s case”); United States v. Van Hemelryck, 945 F.2d 1493, 1498




                                                     24
Case 1:23-cr-20271-DSL Document 177 Entered on FLSD Docket 02/28/2025 Page 25 of 31




   (“The district court has discretion to admit the statements subject to proof of [admissibility] during

   the course of trial.”).

           Moreover, the Court need not make any express findings that a conspiracy existed, and that

   the statements were made in furtherance of a particular conspiracy. Instead, a court’s admission of

   coconspirator statements under Fed. R. Evid. 801(d)(2)(E) operates as an implicit finding that

   the criteria for admission of the statement are satisfied. United States v. Miles, 290 F.3d 1341,

   1352 (11th Cir.2002) (affirming admission of coconspirator statements and finding that the district

   court “implicitly found that [the declarant’s] statement was made in the course of, and in

   furtherance of, a conspiracy”); see also Holland, 117 F.4th at1354 (statements are admissible if

   “made during and in furtherance of a joint venture that included an opposing party”).

           The Defendants’ request for a James hearing is particularly problematic where such a

   hearing could easily turn into a mini-trial. Especially here, where dozens of individuals participated

   in the conspiracy, any pre-trial hearing would be lengthy and involve cross-examination of the

   Government’s witnesses. Courts have explicitly denied motions for a James hearing to avoid a

   waste of judicial resources. 5 See United States v. Patel, No. 19-cr-80181-RAR (S.D. Fla. Oct. 27,

   2022) [D.E. 313] (denying the defendant’s motion for a James hearing, ruling that the court would

   make evidentiary decisions on coconspirator statements at trial and noting that such a ruling “will

   avoid the need for lengthy mini-trials and allow for the efficient presentation of evidence, thereby

   promoting judicial economy”); United States v. Carver, et al., 22-CR-80022 (S.D. Fla. Nov. 21,

   2022) [D.E. 457] (denying the defendants’ motion for a James hearing and ruling that in a case


   5
    Consistent with its practice during discovery in this case, the Government will be available to meet and
   confer with defense counsel regarding any concerns under Rule 801(d)(2)(E) or any other objections to the
   Government’s proposed exhibits or potential testimony. In addition to its witness list provided no later than
   3 weeks before trial, the Government intends to notify defense counsel each night during trial of which
   witnesses it intends to call the following day. This practice will allow the parties time to identify any
   evidence to which they object before it is offered by the Government.

                                                        25
Case 1:23-cr-20271-DSL Document 177 Entered on FLSD Docket 02/28/2025 Page 26 of 31




   with a “wide-ranging and complex conspiracy . . . holding a James hearing most assuredly would

   yield a lengthy mini-trial, unnecessarily consuming judicial resources and requiring unnecessary

   duplication of efforts”); see also United States v. McGregor, No. 2:10CR186-MHT, 2011 WL

   978794, at *2 (M.D. Ala. Mar. 18, 2011) (denying motion for James hearing in complex case with

   voluminous discovery where the Government explained that “holding a pretrial James hearing is

   no longer the norm in the Eleventh Circuit and that it would be more efficient to admit the

   statements, subject to their being connected up by the close of the government’s evidence”); United

   States v. Savage, No. CRIM.A. 07-550-03, 2012 WL 5866068, at *4 (E.D. Pa. Nov. 20, 2012)

   (noting how “conducting James hearings in complex conspiracy cases is not the preferred practice

   since there is a concern that hearings will result in ‘mini-trials’”); United States v. Cheatham, 500

   F. Supp. 2d 528, 537 (W.D. Pa. 2007) (denying the defendant’s request for a James hearing

   because hearing in “complex eight person conspiracy and a seventeen count indictment” would

   have “most certainly” turned into a “mini-trial.”).

          B.      A Pre-Trial James Hearing is Unnecessary and Would Likely Become a
                  Lengthy Mini-Trial, Wasting Judicial Resources

          As an initial matter, the Government understands the Federal Rules of Evidence, including

   the necessary foundation to admit coconspirator statements under Rule 801(d)(2)(E), and will act in

   good faith to offer statements supported by the necessary foundation or those that can be admitted

   conditionally. In this case, the Defendants have been on notice since the original indictment was

   returned—nearly two years ago—about the details of the alleged conspiracies. As set forth above,

   the Government produced voluminous materials in compliance with its discovery obligations in

   no fewer than 36 separate discovery productions since August 4, 2023. Early production of witness




                                                    26
Case 1:23-cr-20271-DSL Document 177 Entered on FLSD Docket 02/28/2025 Page 27 of 31




   interview reports began on August 8, 2023. 6

           On February 28, 2025, the Government produced in correspondence to defense counsel a

   list of potential coconspirators. It also produced a preliminary cooperating witness list on August

   23, 2024. Although it was not obligated to do so, the early production of this material is intended

   to assist the defense in preparing for trial and avoid surprise. Therefore, in receipt of the unusual

   and early production of interview reports, Jencks materials, and lists of coconspirators and trial

   witnesses, defense counsel are able to focus their review of the interview reports and discovery

   materials pertaining to those coconspirators on the witness list. More importantly, there have been

   more than a dozen cooperating defendants who have pleaded guilty in connection with their

   participation in the conspiracies alleged in the Superseding Indictment. Thus, defense counsel are

   able to focus their pre-trial preparation on these cooperating defendants to ascertain the existence

   of any coconspirator declarations. The Government has responded to multiple ad hoc inquiries

   from defense counsel related to the cooperating witnesses, which demonstrates that the early

   identification and production is enabling the defense to prepare.

           The Government anticipates that the first cooperating defendant who testifies at trial will

   be able to describe the overall conspiracy to defraud Medicare and the scheme to pay and receive

   bribes and kickbacks, describe Defendants’ roles in the conspiracy, and identify many of the

   coconspirators. This testimony, followed by testimony of other cooperating defendants, will

   establish the existence of the conspiracy early in the trial and facilitate the Court’s consideration

   of the necessary foundation to admit coconspirator statements. Then, it will be easy for the Court

   and counsel to see that the coconspirator statements being introduced are in furtherance of that

   conspiracy.


   6
    The Government is preparing for trial and meeting with witnesses. The Government expects to generate
   additional interview reports as part of this process, which will be disclosed to the Defendants promptly.

                                                      27
Case 1:23-cr-20271-DSL Document 177 Entered on FLSD Docket 02/28/2025 Page 28 of 31




             The Government anticipates that the coconspirator statements to be admitted at trial will

   consist of documents and oral statements. The documents will take the form of emails and other

   documents that have been produced to the Defendants in discovery and will be identified on the

   Government’s exhibit list prior to trial. 7 Oral coconspirator statements may include, for example:

   discussions with the Defendants about how DMERx was established; discussions about

   compliance concerns and how they were handled; communications with DME suppliers and

   marketers about how DMERX worked and the benefits to using the platform; pitches to potential

   investors about HealthSplash 2.0 (or SplashRx); discussions among DMERx officers and

   employees, marketers, and telemedicine personnel concerning their activities and payments of

   bribes and kickbacks in furtherance of the conspiracy; and discussions among coconspirators about

   how to manage problems and their efforts to conceal their fraudulent activities or launder the

   proceeds. Therefore, it is easy to see that oral statements in these general categories were made in

   furtherance of the conspiracy.

              As such, this Court should deny the Defendants’ motion for a pre-trial James hearing

       and rule on the admissibility of coconspirator statements at trial. Many courts take this

       reasonable and resource-saving approach. See United States v. Tyson, No. CR 315-013, 2016

       WL 1180202, *1 (S.D. Ga. March 25, 2016) (denying the motion for a pre-trial James hearing

       and explaining that “[a]s the need for a James hearing is lessened in light of [Bourjaily v.

       United States, 483 U.S. 171, 181 (1987)], and in the interest of judicial economy” the

       determination of the admissibility of coconspirator statements will be made at trial); United

       States v. Cox, 2007 WL 1173059, No. 5:07-CR-09 (WDO), at *1 (M.D. Ga. April 18, 2017)



   7
    Pursuant to the Court’s Pretrial Scheduling Order [D.E. 130], the parties are to file proposed witness and
   exhibit lists no later than one week before the Final Pretrial Conference. Based on the current schedule, that
   deadline is April 11, 2025, three weeks before trial.

                                                        28
Case 1:23-cr-20271-DSL Document 177 Entered on FLSD Docket 02/28/2025 Page 29 of 31




       (ruling “[t]he Court will decline to hold a pretrial James hearing but will instead await the

       presentation of the Government’s evidence at trial and determine then whether                    the

       Government has ‘connected up’ the statements to the alleged conspiracy”); United States

       v. Leaks 2013 WL 5538718, No. 1:13-CR-15 (WLS) (M.D. Ga. Oct. 7, 2013) (denying motion

       for pre-trial James hearing and noting that “[i]nstead, the Court will rule on the admissibility

       of coconspirator statements at trial”).

              Likewise, this Court should allow the Government to “connect up” any statements that it

       seeks to introduce at trial and determine admissibility of those statements at the close of the

       Government’s case-in-chief. Finally, the Defendants make passing reference to Rule 806 [D.E.

       163 at 6] and contend that without identification of coconspirator statements they cannot prepare

       impeachment materials. That is not the purpose of a James hearing. See United States v Perry,

       624 F.2d 29, 31 (5th Cir. 1980) (purpose of a James hearing is “to establish the existence, or

       nonexistence, of the predicates for the admission of a coconspirator’s extrajudicial declaration

       before the declaration is made known to the jury”). 8 None of the concerns or blanket allegations

       raised by the Defendants in their motions warrant a pre-trial James hearing. The Defendants’

       request for the Court to conduct a mini-trial should be denied.




   8
    The Defendants’ offer of an alternative—that the Government produce coconspirator statements 45 days
   prior to trial—seeks what amounts to an inappropriate bill of particulars. As noted above, a bill of
   particulars is not appropriate as a discovery tool to obtain a detailed, play-by-play of the Government’s
   case, nor should it operate as a method for the Defendants to obtain an advanced preview of coconspirator
   statements to prepare Rule 806 impeachment materials.

                                                      29
Case 1:23-cr-20271-DSL Document 177 Entered on FLSD Docket 02/28/2025 Page 30 of 31




                                            CONCLUSION

          For the reasons stated above, the Government respectfully requests that the Court deny

   the Defendants’ motions in their entirety.

   Dated: February 28, 2025

                                                         Respectfully submitted,

                                                         HAYDEN P. O’BYRNE
                                                         UNITED STATES ATTORNEY

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                                                 30
Case 1:23-cr-20271-DSL Document 177 Entered on FLSD Docket 02/28/2025 Page 31 of 31




                               CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that, on February 28, 2025, I electronically filed the foregoing

   document via the Court’s CM/ECF system.

                                                  /s/ Darren C. Halverson
                                                  Trial Attorney
                                                  U.S. Department of Justice




                                             31
